  Case 3:16-cv-03109-S-BH Document 105 Filed 09/14/18                                        Page 1 of 1 PageID 883


                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

ENRIQUE ZAMARRIPA,                                               §
                                                                 §
                    Plaintiff,                                   §
vs.                                                              § Civil Action No. 3:16-CV-3109-S-BH
                                                                 §
FARRAKHAN, et al.,                                               §
                                                                 §
                    Defendants.                                  § Referred to U.S. Magistrate Judge

                                                            ORDER

          By order of reference dated August 3, 2018, this case was referred for full case management.

Before the Court for recommendation is the Motion to Set Aside Default and to Dismiss Plaintiff’s

Complaint, filed September 13, 2018 (doc. 100).

          Respondent may file a response and brief containing citations to relevant authorities1 no later

than Thursday, October 4, 2018. Movant may file a reply no later than Thursday, October 18,

2018.

          At this time, no hearing will be scheduled on this matter.

          SO ORDERED on this 14th day of September, 2018.



                                                                        ___________________________________
                                                                        IRMA CARRILLO RAMIREZ
                                                                        UNITED STATES MAGISTRATE JUDGE




          1
           Local Rule 7.1 of the Local Civil Rules for the Northern District of Texas requires the filing of briefs in support of
most motions. Pursuant to subsection (d), briefs shall contain a “party’s contentions of fact and/or law, and arguments and
authorities.” (emphasis added). Briefs containing authorities greatly assist the Court in making rulings more expeditiously.
